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          IN THE UNITED STATES DISTRICT COURT FOR THE
                  NORTHERN DISTRICT OF FLORIDA
                      PANAMA CITY DIVISION

UNITED STATES OF AMERICA,

v.                                           Case No. 5:12cr5-MW/CJK-10

JASON APOLLO BROXTON,

          Defendant.
___________________________/

           ORDER ACCEPTING AND ADOPTING REPORT AND
                      RECOMMENDATION

       This Court has considered, without hearing, the Magistrate Judge's Report

and Recommendation. ECF No. 814. Upon consideration, no objections having

been filed by Defendant,

       IT IS ORDERED:

       The report and recommendation is accepted and adopted as this Court’s

opinion. The Clerk shall enter judgment stating, “The motion to vacate, set aside,

or correct sentence, ECF Nos. 808 & 811, is DENIED and DISMISSED. A

certificate of appealability is DENIED." The Clerk shall close the file.

       SO ORDERED on September 30, 2015.

                                             s/Mark E. Walker
                                             United States District Judge
